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OTWC ge 2;04-0\/-02326-3&1}/'1‘1£<§ MHB sTATEs DISTRICT coURT qu€.:

FOR THE WESTERN DISTRICT oF TENNEssEE Fsozo c ‘. 1 '
WESTERN DIVISION _
zousAuc 19 PH h- 01

FITEC INTERNATIONAL, INC.,

   
  

A TENNESSEE coRPoRATIoN, mg _ J
Plainrirr, w §§ ' ` "
vs. Civil Action No. 2:04CV23§
PAUL c.ARDERN,ANINDIvIDUAL JURY DEMANDED
sTATE oF FLoRn)A,

Defendant, Counter-Plaintiff,
vs.

FITEC INTERNATIONAL, INC.,
A TENNESSEE CORPORATION,

 

ERN|CE BOU|E DONALD

U.S. DlSTRlCT JUDGE
Counter-Defendant.

2. In the interest of judicial economy and efficiency and in an effort to maintain

This document entered on the dockets r' H ca
with Huie 58 and/or 79{a) FRCP on

 

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parties in this litigation to continue the trial and to amend the Scheduling Order so as to allow

both parties an opportunity for full and complete discovery.

Respectiiilly submitted, this the [Z day of August, 2005 .

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Honorable Bernice Donald
US DISTRICT COURT

